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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        CV 16-6785-MWF(AJWx)                                                                       Date      July 12, 2018
 Title:          Estate of Feras Morad, et al. v. City of Long Beach, et al.

 Present: The Honorable           HONORABLE MICHAEL W. FITZGERALD
                            Rita Sanchez                                                                    Amy Diaz
                            Deputy Clerk                                                               Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                               Attorneys Present for Defendants:
Joshua Piovia-Scott/Brian D. Olney/Dan Stormer                                  Howard D. Russell/Kyle R. Bevan/Peter J. Fersuson

                              Day Court Trial                     10th                    Day Jury Trial
                                                                                            X
                                                st
            One day trial:          Begun (1 day);               Held & Continued;                 Completed by jury verdict/submitted to court.
       The Jury is impaneled and sworn.
       Opening statements made by
       Witnesses called, sworn and testified.             Exhibits Identified             Exhibits admitted.

       Plaintiff(s) rest.                                 Defendant(s) rest.
       Closing arguments made by                          plaintiff(s)                  defendant(s).                Court instructs jury.
       Bailiff(s) sworn.                                  Jury retires to deliberate.                          ✔     Jury resumes deliberations.
 ✔     Jury Verdict in favor of                           plaintiff(s)           ✔      defendant(s) is read and filed.
 ✔     Jury polled.                                       Polling waived.
 ✔     Filed Witness & Exhibit Lists                  ✔   Filed jury notes.             Filed jury instructions.
       Judgment by Court for                                                            plaintiff(s)                 defendant(s).
       Findings, Conclusions of Law & Judgment to be prepared by                        plaintiff(s)                 defendant(s).
       Case submitted.               Briefs to be filed by
       Motion to dismiss by                                                      is             granted.           denied.           submitted.
       Motion for mistrial by                                                    is             granted.           denied.           submitted.
       Motion for Judgment/Directed Verdict by                                   is             granted.           denied.           submitted.
       Settlement reached and placed on the record.
       Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
       Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
       Trial subpoenaed documents returned to subpoenaing party.
       Case continued to                                                                    for further trial/further jury deliberation.
       Other:


                                                                                                                      00        :          40
                                                                                Initials of Deputy Clerk                      rs
cc:


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